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 7

 8                        IN THE UNITED STATES DISTRICT COURT
 9                            EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                   CASE NO. 1:12-CR-0213-AWI-BAM
12                            Plaintiff,         ORDER FOR FORFEITURE MONEY
                                                 JUDGMENT
13                       v.
14   JOSEPH SHAWN CHAVEZ, JR.,
15                            Defendant.
16

17        Based upon the United States’ Application for Forfeiture Money Judgment and the
18 plea agreement entered into between plaintiff United States of America and defendant

19 Joseph Shawn Chavez, Jr.,

20        IT IS HEREBY ORDERED that:
21        1.      The defendant Joseph Shawn Chavez Jr. shall forfeit to the United States the
22 determined sum of $3,092,000 and that the Court imposes a personal forfeiture money

23 judgment against defendant in that amount.

24        2.      Any funds applied towards such judgment shall be forfeited to the United
25 States of America and disposed of as provided for by law. Prior to the imposition of

26 sentence, any funds delivered to the United States to satisfy the personal money judgment
27 shall be seized and held by the Department of Treasury or Designee, in its secure custody

28 and control.

      Order for Forfeiture Money Judgment        1
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 1        3.     This Order of Forfeiture shall become final as to the defendant at the time of
 2 sentencing and shall be made part of the sentence and included in the judgment.

 3        4.     The United States may, at any time, move pursuant to Rule 32.2(e) to amend
 4 this Order of Forfeiture to substitute property having a value not to exceed $3,092,000 to

 5 satisfy the money judgment in whole or in part.

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 7 IT IS SO ORDERED.

 8 Dated: October 5, 2015
                                          SENIOR DISTRICT JUDGE
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     Order for Forfeiture Money Judgment         2
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